   4:11-cb-03006-CRZ      Doc # 26    Filed: 01/06/12     Page 1 of 1 - Page ID # 72




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )                    4:11CB3006
                  Plaintiffs,               )
                                            )              CVB No. 1157732
           v.                               )
                                            )           ORDER OF DISMISSAL
EUGENE L. WINTERS, and                      )
                                            )
                  Defendants.               )
                                            )


     IT IS ORDERED:

     1)    The government’s oral motion to dismiss is granted.

     2)    The Central Violations Bureau matter against Eugene L Winters, ticket number
           1157732, is dismissed.


     DATED this 6th day of January, 2012.

                                        BY THE COURT:

                                        s/ Cheryl R. Zwart
                                        United States Magistrate Judge
